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 1   Jesse Panuccio (pro hac vice)
 2   jpanuccio@bsfllp.com
     Jason Hilborn (pro hac vice)
 3   jhilborn@bsfllp.com
     BOIES SCHILLER FLEXNER LLP
 4   401 E. Las Olas Blvd., Ste. 1200
     Fort Lauderdale, FL 33301
 5   Telephone: (954) 356-0011
 6
     John J. Kucera (SBN 274184)
 7   jkucera@bsfllp.com
     BOIES SCHILLER FLEXNER LLP
 8   725 S. Figueroa St., 31st Fl.
     Los Angeles, CA 90017
 9   Telephone: (213) 629-9040
10   Counsel for Proposed Intervenor
11   Everglades College, Inc.

12                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
13

14   THERESA SWEET, et al.,                       Case No. 3:19-cv-03674-WHA

15                    Plaintiffs,                 PROPOSED INTERVENOR
                                                  EVERGLADES COLLEGE, INC.’S
16          v.                                    REPLY IN SUPPORT OF MOTION TO
                                                  INTERVENE
17   MIGUEL CARDONA, in his official capacity
     as Secretary of Education, and the UNITED    Date:    August 4, 2022
18   STATES DEPARTMENT OF EDUCATION,              Time:    1:30 p.m.
19                                                Room:    12, 19th Floor
                      Defendants.                 Judge:   Honorable William Alsup
20
                                                  (Class Action)
21
                                                  (Administrative Procedure Act Case)
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 1   I.      INTRODUCTION
 2           Everglades University and Keiser University (“ECI”) are nonprofit educational institutions
 3   that are routinely recognized for their achievements, such as top rankings for enhancing the social
 4   mobility of students. Doc. 261-3 ¶¶ 7-8. The Department of Education has never found, through
 5   a lawful adjudication, that a borrower-defense claim associated with the schools is meritorious.
 6   To the contrary, the Department has never even notified the schools of a claim, id. ¶ 10, and the
 7   record in this very case shows the Department “has not identified evidence that suggests that
 8   Everglades is participating in fraudulent or illegal activity that would support borrower defense
 9   discharges.” See Doc. 193-3 at 41.
10           Yet, on June 22, 2022, ECI (and the rest of the world) found out that the Department and
11   Plaintiffs (“Parties”) spent months secretly colluding to fashion a “settlement” that strips ECI (and
12   151 other schools) of its rights under lawfully promulgated rules, convicts ECI of “substantial
13   misconduct” without a hearing, and exposes ECI to programmatic, reputational, and financial risk
14   and harm. The Proposed Settlement sweeps far beyond the claims in this case, which, according
15   to the Parties themselves, the Plaintiffs “brought … to challenge the Department’s delay in making
16   decisions on BD applications.” Doc. 246 at 2. Rather than simply end the alleged delay, the
17   Proposed Settlement discards the Department’s lawfully promulgated borrower-defense
18   regulations and establishes a vehicle to potentially cancel every federal student loan in the country,
19   along with refunds for past payments. That ECI’s substantial interests are implicated and impaired
20   by the Department’s regulatory gamesmanship is patent just from this basic description.
21   Accordingly, as soon as the Parties filed the Proposed Settlement, ECI moved to intervene to
22   protect its interests.
23           The Parties oppose, but in a seeming act of legal slapstick, they trip all over each other in
24   trying to fashion a coherent reason as to why ECI’s intervention is prohibited. The Government
25   says intervention is too soon. Plaintiffs say it is too late. The Government says its determination
26   of misconduct is meaningless. Plaintiffs say it is justified and conclusive. The Government says
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 1   a settlement cannot impose reputational harm. Plaintiffs point to past settlements to defame
 2   schools. It would be comical if it were not so serious and wrong.
 3            That the motions to intervene have already smoked out substantial disagreement among
 4   the Parties about the meaning of the Settlement underscores the need for, and utility of,
 5   intervention. After all, this Court has already rejected a proposed settlement in this case because
 6   there was “no meeting of the minds” as to what the proposed settlement terms meant. Doc. 146
 7   at 10. Last time, that lack of agreement affected the interests of the class. Now, that lack of
 8   agreement affects the interests of nonparties who should be permitted to intervene to protect those
 9   interests. The Court should grant ECI’s motion so that ECI may protect itself from the harms the
10   Parties seek to impose upon it.
11   II.      ARGUMENT
12            A.        Intervention by Right Is Warranted under Fed. R. Civ. P. 24(a).
13            To intervene by right, ECI must show that (1) its motion is timely; (2) it “has a significant
14   protectable interest relating to … the subject of the action”; (3) “the disposition of the action may,
15   as a practical matter, impair or impede [its] ability to protect [that] interest”; and (4) the parties
16   may not adequately represent that interest. 1 Citizens for Balanced Use v. Montana Wilderness
17   Ass’n, 647 F.3d 893, 897 (9th Cir. 2011). These four requirements are broadly construed in favor
18   of intervention, id.—a point of law that the Parties ignore.             ECI’s motion satisfies each
19   requirement, and the Parties’ contradictory positions on these requirements only serve to
20   underscore the need for intervention.
21                      1.      ECI’s Motion Is Timely.
22            Plaintiffs and Defendants simultaneously contend that ECI’s intervention is both too late
23   (Plaintiffs) and too early (Defendants). ECI’s motion is right on time.
24                              a.     ECI’s Motion Is Not Late.
25            Plaintiffs do not say exactly when ECI should have sought to intervene, but suggest it was
26   as early as day one of this case because a single paragraph of the Complaint alleges that ECI, years
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              1
                  The Parties do not dispute that they do not, and will not, represent ECI’s interests.
28
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 1   ago, began operating as a nonprofit institution. Pls’ Opp. 6. But Plaintiffs ignore that timeliness
 2   of intervention is “assess[ed]” by “reference to the ‘crucial date’ when ‘proposed intervenors
 3   should have been aware that their interests would not be adequately protected by the parties.”
 4   Kalbers v. DOJ, 22 F.4th 816, 822 (9th Cir. 2021); see also Officers for Justice v. Civil Serv.
 5   Comm’n, 934 F.2d 1092, 1095 (9th Cir. 1991) (same). The crucial date here is when the Parties
 6   filed the Proposed Settlement: June 22, 2022. That is when the case transmogrified from (i) a
 7   lawsuit about the pace of an adjudicatory process that has protections for ECI’s rights and interests,
 8   to (ii) a lawsuit that will eliminate that adjudicatory process altogether. Plaintiffs’ counsel’s own
 9   statements highlight how the settlement transformed the case. Compare Pls’ Opp. 17 (stating that
10   the “legal issues in this case” are “whether the Department unlawfully withheld or unreasonably
11   delayed BD decisions, whether it unlawfully adopted a ‘presumption of denial’ policy, and
12   whether its form denial notices violated the APA and/or due process”), with The Project on
13   Predatory    Student     Lending,     A     Guide      to   the   Proposed      Sweet     Settlement,
14   https://predatorystudentlending.org/wp-content/uploads/2022/06/PPSL-Sweet-Flowchart-7.pdf
15   (stating that if a “school is on the list” and a borrower already “applied for borrower defense” then
16   the “loan is cancelled” without further process, and that if a borrower applies now, he or she will
17   receive a new “process favorable to borrower”) (attached as Exhibit A). Thus, Plaintiffs are
18   incorrect in arguing that passing mentions of ECI on the docket somehow required intervention
19   earlier in the case. The relief sought by the complaints, if granted, would preserve the adjudicatory
20   process enshrined in duly promulgated regulations; the Proposed Settlement will eviscerate that
21   process and its attendant protections. 2
22           Moreover, even if Plaintiffs were correct that ECI’s interests were in play earlier in this
23   case, with the lodging of the (heretofore secret) Proposed Settlement, ECI first became aware that
24   the Government would no longer “adequately protect[]” ECI’s interests. Kalbers, 22 F.4th at 822.
25   The Government “changed its fundamental stance in the controversy” from vigorously defending
26
             2
              Plaintiffs state that “both Lincoln and CSPP … received actual notice from the Department
27   about BD applications by their former students.” Pls’ Opp. 7. For the reasons just explained, this
     is immaterial, but to the extent it matters, ECI has received no such notice. See Doc. 261-3 ¶ 10.
28
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 1   against Plaintiffs’ claims to conceding them (and much more). Legal Aid Society of Alameda
 2   County v. Dunlop, the Chamber of Commerce, 618 F.2d 48, 50 (9th Cir. 1980). At that point,
 3   ECI’s interests were no longer protected by an existing party and the entitlement to, and timeliness
 4   of, intervention arose. This “change of circumstances,” Kalbers, 22 F.4th at 827, represents a
 5   “substantially different position” than had previously “been assumed by” either party, particularly
 6   “the Government.” Legal Aid Society, 618 F.2d at 50.
 7          Plaintiffs next argue that ECI cannot intervene at the settlement stage. Pls’ Opp. 5. The
 8   Ninth Circuit disagrees. In a recent decision ignored by the Parties, the Ninth Circuit emphasized
 9   that “the formal ‘stage’ of the litigation”—such as settlement—is not “dispositive.” Kalbers, 22
10   F.4th at 826. Instead, the Ninth Circuit “has recognized that an intervenor can seek to intervene
11   for the purposes of objecting to a settlement it deems contrary to its interests.” Su v. Siemens
12   Indus., Inc., 2013 WL 3477202, at *3 (N.D. Cal. July 10, 2013). The Ninth Circuit has held that
13   intervention should be granted to challenge settlements if, as here, “intervenors acted as soon as
14   they had notice that … the government may not be representing their interests” in negotiating “the
15   proposed settlement.” United States v. Carpenter, 298 F.3d 1122, 1124 (9th Cir. 2002); see also
16   United States v. City of Los Angeles, 288 F.3d 391, 400 (9th Cir. 2002) (holding intervenor had
17   “the right to present its views … and have them fully considered … with the district court’s
18   decision to approve the consent decree”). In Smith v. Los Angeles Unified School District, for
19   example, the Ninth Circuit reversed a district court’s order denying a motion to intervene made
20   seventeen years after a consent decree because the parties were renegotiating that consent decree,
21   which, the Court explained, was “a change of circumstances” justifying intervention. 830 F.3d
22   843, 854, 864 (9th Cir. 2016).
23          Plaintiffs cite Orange County. v. Air California, 799 F.2d 535 (9th Cir. 1986), and
24   California Department of Toxic Substances Control v. Commercial Realty Projects, Inc., 309 F.3d
25   1113, 1120 (9th Cir. 2002), but those cases underscore why intervention is proper here. In Orange
26   County, the settlement arose after “extensive and well-publicized negotiations” that should have
27   alerted the proposed intervenors to “the risks of waiting.” 799 F.2d at 538. In Commercial Realty,
28
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 1   a CERCLA case, the proposed intervenors had been “invited … to participate in settlement
 2   negotiations” but refused. 309 F.3d at 1117. Further, prior to settlement, the proposed intervenors
 3   were “informed” that the parties believed they “were responsible for recovery costs” and thus
 4   “should have realized that the negotiations could result in a consent decree allowing [the parties]
 5   to look to [the proposed intervenors] for contribution.” Id. at 1120.
 6             Here, ECI faces the opposite situation. Nothing about this case ever suggested a school’s
 7   alleged “misconduct” would be “determined” by the Department, Doc. 246 at 17, or that the
 8   adjudicatory process enshrined in duly promulgated rules would be scrapped. And the Parties
 9   negotiated in secret, never informing any of the hundreds of schools on their Exhibit C list that
10   their interests might be compromised. See Pls’ Opp. 9 n.12 (“[t]he parties … discussed settlement
11   confidentially”); Gov. Opp. 12 n.2 (“the parties negotiated their settlement ‘in secret’”). No one—
12   not ECI, not this Court, not the public at large—was on notice that the Parties were negotiating an
13   unprecedented settlement that would implicate the interests of hundreds of educational institutions.
14   The Parties could have inked a secret deal that did not do this—that simply granted the relief
15   requested in the complaints—but they chose otherwise. They should not now be heard to complain
16   that the very entities they name in their Proposed Settlement might want to have their day in court,
17   too.
18             Finally, it is insufficient to say, as Plaintiffs do, that intervention must be denied because
19   it might cause some delay in adoption of the Proposed Settlement. Pls’ Opp. 9. The Ninth Circuit
20   has squarely and repeatedly rejected that argument because “every motion to intervene will
21   complicate or delay a case to some degree.” Kalbers, 22 F.4th at 825 (citing Smith, 830 F.3d at
22   857; League of United Latin Am. Citizens v. Wilson, 131 F.3d 1297, 1304 (9th Cir. 1997)). If
23   Plaintiffs were correct, “every intervention motion would be denied out of hand because it carried
24   with it, almost by definition, the prospect of prolonging the litigation.” League, 131 F.3d at 1304.
25   Moreover, the only way ECI can materially delay resolution is if it is right—i.e., if the Proposed
26   Settlement is unlawful, unfair, and unreasonable—and the Parties have no legitimate interest in
27   having this Court approve an unjust or improper settlement.
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 1                          b.      ECI’s Motion Is Not Premature.
 2           The Government agrees that Plaintiffs are wrong in contending ECI’s motion is too late.
 3   Instead, the Government contends the motion is slightly “premature” because class members’ time
 4   for objecting to the Proposed Settlement occurs after preliminary approval. Gov. Opp. 11–12. The
 5   Government confuses Rule 23 and Rule 24. Rule 23 governs when class members—already
 6   parties to this case and represented by class counsel and class representatives—can lodge
 7   individual objections. Thus, the cases on which the Government relies for the proposition that
 8   ECI’s motion is “premature” involve intervention motions by class members (or putative class
 9   members) who were already represented in the case and already held the right to object and to opt
10   out in order to protect their interests. See Chi v. Univ. of S. California, 2019 WL 3064457, at *6
11   (C.D. Cal. Apr. 18, 2019); Casey v. Citibank, N.A., 2014 WL 3468188, at *1 (N.D.N.Y. Mar. 21,
12   2014); Lane v. Facebook, Inc., 2009 WL 3458198, at *5 (N.D. Cal. Oct. 23, 2009).
13           Rule 24 asks whether non-parties’ interests have been implicated by developments in a
14   case such that party status is warranted. If Rule 24 is satisfied, that is the end of the inquiry. Rule
15   23 has nothing to do with it. Tellingly, the Government fails to explain how, absent intervention,
16   ECI can protect its interests or ever object to the Proposed Settlement under Rule 23. 3
17                  2.      ECI Has Legally Protectable Interests that May Be Impaired by
                            Disposition of this Action.
18

19           Courts must conduct a “practical” inquiry into whether a putative intervenor has a legally
20   protectable interest relating to the subject of an action. Citizens, 647 F.3d at 897. ECI’s
21   intervention is warranted if “some law” protects its interests and “there is a relationship between”
22   those interests and “the claims at issue.” Id. Whether “disposition of this action may … impair or
23   impede [ECI’s] ability to protect that interest” is also a “practical” inquiry, and “absolute certainty”
24   is not required. Id. at 898, 900 (emphasis added); see also Sagebrush Rebellion, Inc. v. Watt, 713
25           3
                 Incredibly, Plaintiffs cannot figure out whether their own Proposed Settlement—which
26   they claim was the product of “extensive settlement negotiations,” Pls’ Opp. 18, and is perfect “as
     it is written,” id. at 20—permits “any person” to object to the settlement or only “Class Members,”
27   id. at 21 n.19. Given the uncertainty, intervention is necessary to ensure ECI’s objections will be
     heard.
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 1   F.2d 525, 528 (9th Cir. 1983).
 2          In its motion, ECI explained, with particularity, how the Proposed Settlement threatens to
 3   impair its interests. As a participant in Federal Student Financial Aid Programs, ECI’s schools are
 4   subject to the requirements of Program Participation Agreements and to substantial regulation and
 5   oversight. As the Government recognizes, a finding of wrongdoing by the Department (including
 6   in the borrower-defense context, but also more generally) can subject the schools to serious
 7   programmatic, financial, and reputational consequences. Doc. 288-1 ¶¶ 10, 12; see also 20 U.S.C.
 8   § 1099c(c), 34 C.F.R. §§ 668.15, 668.171 (detailing factors that affect a school’s “Financial
 9   Responsibility Composite Score,” which in turn can affect terms of participation in federal aid
10   programs).    In short, misconduct allegations and findings are serious business for schools,
11   implicating a range of potential consequences.
12          The Department’s duly promulgated borrower-defense regulations protect ECI from these
13   harms through two different steps: the lawful adjudication of allegations contained in a borrower-
14   defense application (step one), and any recoupment or other related disciplinary proceeding (step
15   two). In step one, regardless of when a loan was issued, the Department must provide notice to
16   the school of a borrower-defense application.            34 C.F.R. § 685.206(c)(2); 34 C.F.R.
17   § 685.222(e)(3)(i); 34 C.F.R. § 685.206(e)(10).        For loans issued before July 1, 2020, the
18   Department must “consider[] … [a]ny response or submissions from the school” about the
19   application. 34 C.F.R. § 685.222(e)(3)(i). A designated Department official then adjudicates the
20   applications “through a fact-finding process” and concludes with a written decision. 34 C.F.R.
21   §§ 685.222(e)(3)–(4). For loans issued after July 1, 2020, the regulations require the Department
22   to “provide a copy” of the application to the school, affirmatively “invite the school to respond
23   and to submit evidence” in its defense, 34 C.F.R. § 685.206(e)(10), and “consider … the school’s
24   response.” 34 C.F.R. § 685.206(e)(11)–(12). The Department then must issue a written decision
25   on the application that provides its reasoning. Id. Notably, even putting aside a school’s direct
26   participation rights, the neutral and individualized adjudication is itself an important protection of
27

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 1   a school’s interests. 4
 2           The settlement deep-sixes rule-based adjudicatory process for borrower-defense claims
 3   and replaces it with a new, three-pronged approach: (1) immediate and automatic debt cancellation
 4   for class members who attended Exhibit C schools, (2) delayed but automatic debt cancellation for
 5   all other class members, and (3) potential automatic debt cancellation for every federal borrower
 6   in the country, and at the very least elimination of the more protective post-2020 procedures for
 7   every Post-Class Applicant. 5      To repeat: the Proposed Settlement establishes a new debt-
 8   cancellation process for every borrower, regardless of whether they attended a for-profit or not-
 9   for-profit institution in the country, throwing out the rule-based adjudicatory process, which
10   includes legal protections for schools at every step.
11           ECI’s interests are implicated by both Path 1 and Path 3. Path 1 debt cancellation is based
12   on the Department having “determined … substantial misconduct by the listed schools” in Exhibit
13   C. Doc. 246 at 17-18. This supposed determination—which offers no particulars about any of the
14   153 schools on the list—eliminates ECI’s rights to have notice, to submit evidence, and to have an
15   individualized and fair adjudication of the accusations against it. Path 3 debt cancellation (for
16   potentially every borrower in the country) will either: (1) proceed under the 2016 Rule, eliminating
17           4
                Plaintiffs are wrong that schools receive no process protections for borrower-defense
18   applications related to loans issued before July 1, 2017. Pls’ Opp. 11. 34 C.F.R. § 685.206(c)
     governs “[b]orrower defense to repayment for loans first disbursed prior to July 1, 2017.”
19   Subsection 685.206(c)(2) provides that a “borrower defense claim under this section must be
     asserted, and will be resolved, under the procedures in § 685.222(e) to (k).” Subsection
20   685.222(e)(3)(i), in turn, states that, “[a]s part of the fact-finding process, the Department official
21   notifies the school of the borrower defense application and considers … [a]ny response or
     submissions from the school.” In all events, it is undisputed that the Class members and the “Post-
22   Class Applicants” include borrowers whose loans were issued after July 1, 2017.
              5
                Thus, for example, students of Columbia University or Villanova University could apply
23   and claim that they were defrauded by the schools’ allegedly false reporting of data to U.S. News
     & World Report. See Scott Jaschik, The Unranking of 10 Colleges, INSIDE HIGHER ED (July 18,
24   2022), https://www.insidehighered.com/admissions/article/2022/07/18/us-news-unranks-colleges.
25            Moreover, because the Proposed Settlement provides an avenue for debt cancellation
     without ever having to prove a single allegation, borrowers may apply without having any credible
26   claims against their school. Every student of, say, Harvard University—the very school that, until
     days ago, employed Class counsel—could apply. It remains for clarification at the fairness hearing
27   how Class counsel could negotiate a settlement that simultaneously implicated and compromised
     the interests of its employer and clients.
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 1   the additional legal protections provided schools under the 2019 Rule (i.e., be more “favorable to
 2   the borrower,” as Plaintiffs’ counsel explains it, Ex. A), or (2) be automatic after three years,
 3   eliminating all protections provided to schools through the adjudication process. 6
 4           Contrary to the Government’s suggestion, ECI is not concerned with “‘deprivation of a
 5   procedural right without some concrete interest that is affected by the deprivation.’” Gov. Opp.
 6   15 (quoting Summers v. Earth Island Institute, 555 U.S. 488, 496 (2009)). Instead, the procedural
 7   rights at Step 1 are part of the overall set of procedures that ECI can access to safeguard its concrete
 8   reputational, financial, and programmatic interests. The Parties’ further arguments as to why these
 9   substantial interests either do not qualify or will not be impaired are meritless. 7
10                          a.      The Parties Are Wrong that Elimination of Step 1 Protections
                                    Does Not Matter Because Step 2 Protections Remain.
11

12           Both Plaintiffs and the Government argue that ECI’s interests are fully protected because

13           6
                The Government disingenuously describes Path 3 as “certain limited relief.” Gov. Opp.
14   9. And Plaintiffs profess to be shocked—shocked!—about concerns that Path 3 reaches every
     borrower in the country. Pls’ Opp. 25 n.22. Yet on their publicity website for this case, Plaintiffs’
15   counsel provides a “Guide to the Proposed Sweet Settlement,” which instructs as follows: “Have
     you applied for borrower defense?  No  Apply today.” Exhibit A. See also Project on
16   Predatory      Student       Lending      (@EdDebtJustice),        TWITTER,       https://twitter.com/
     EdDebtJustice/status/1551582544277020672?s=20&t=L1JiHDx-sfm9gJ-NVONz5Q (July 25,
17
     2022) (“It’s not too late to submit your #borrowerdefense.”). The publicity seems to be working,
18   because, since the Proposed Settlement was announced, at least 60,000 new borrower-defense
     applications have been lodged. Cory Turner, 200,000 student borrowers who say they were ripped
19   off may get their loans erased, NPR (July 21, 2022), https://www.npr.org/2022/07/21/1112554478/
     student-loan-forgiveness-borrower-defense.
20            7
                As an initial matter, it is notable that the Parties, in their Oppositions, cannot bring
21   themselves to fully explain to the Court just how broadly the Proposed Settlement sweeps. They
     cannot do so because to describe the Proposed Settlement accurately is to explain why intervention
22   is necessary. Tellingly, the Parties were not so reticent in their press releases about the Proposed
     Settlement. See, e.g., Statement from U.S. Secretary of Education Miguel Cardona (June 22, 2022)
23   (“We are pleased to have worked with plaintiffs to reach an agreement that will deliver billions of
     dollars of automatic relief….”), https://www.ed.gov/news/press-releases/statement-us-secretary-
24   education-miguel-cardona-sweet-settlement; Project on Predatory Student Lending, Press Release
25   (June 23, 2022) (“the Department will immediately approve the borrower defense applications of
     approximately 200,000 individuals, canceling student loans that …, totaled approximately $6
26   billion”; “People who apply for borrower defense after the execution date of the settlement … will
     receive full settlement relief if the Department fails to issue a decision” within three years),
27   https://predatorystudentlending.org/news/press-releases/landmark-borrower-defense-settlement-to-
     cancel-over-6-billion-in-student-loans-for-200000-borrowers-release/.
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 1   step 2 proceedings “afford institutions significant procedural safeguards.” Pls’ Opp. 14; see also
 2   Gov. Opp. 15-16. First, this contention ignores that step 1 proceedings are part of the overall set
 3   of safeguards that protect ECI’s interests in avoiding programmatic, financial, and reputational
 4   harm. The Parties’ argument is a bit like saying that dispensing with a merits trial is harmless
 5   because a damages or sentencing hearing also has procedural safeguards. Contrary to its current
 6   position, as recently as 2019, the Department concluded that step one proceedings provide
 7   important protections for schools’ concrete interests, stating that “afford[ing] institutions the
 8   opportunity to respond to allegations against the institution during the adjudication process for the
 9   borrower’s claim” would “reduce the likelihood that … schools will be burdened by unjustified
10   claims.” 84 Fed. Reg. 49,788, 49,825 (Sept. 23, 2019).
11           Second, this argument completely ignores that the Department’s making a blanket
12   “determin[ation]” of “substantial misconduct,” without any adjudication, causes significant
13   reputational injury, regardless of subsequent programmatic or financial actions the Department
14   might initiate. Indeed, if—as Plaintiffs claim—such proceedings never materialize, Pls’ Opp. 14,
15   then the Department’s lawless and damaging determination will stand forever, like a scarlet letter.
16                          b.      The Parties Are Wrong that There is No Reputational Injury
                                    from the U.S. Department of Education Announcing a Blanket
17                                  Finding of “Substantial Misconduct.”
18           The Parties posit that it is merely speculative that ECI will suffer reputational harm from
19   the Department’s having determined ECI has engaged in “substantial misconduct” that justifies
20   blanket debt cancellation. Gov. Opp. 17-19; Pls’ Opp. 15-16. 8 To put it mildly, it is ridiculous for
21   the Parties to contend that ECI suffers no reputational harm when its federal regulator says—in a
22   publicly filed document that it trumpeted to the world through press releases—that it “determined”
23   the school has engaged in “substantial misconduct” with respect to its students. Indeed, that the
24   Parties flippantly suggest ECI can simply provide counter messaging “to any current or prospective
25
             8
26             The Government’s citations for the “evidence” required for reputational harm bears no
     relationship to the context of this intervention. See Talavera v. Glob. Payments, Inc., 2021 WL
27   5331000, at *4 (S.D. Cal. Nov. 16, 2021) (addressing requirement for a preliminary injunction based
     on reputational harm).
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 1   students” is a recognition that the determination has harmful reputation effects. Gov. Opp. 18; see
 2   also Pls’ Opp. 22 (“As to alleged reputational harm, Movants have both the resources and the
 3   wherewithal to publicize their opposition to the proposed settlement….”). Moreover, Plaintiffs’
 4   counsel can hardly feign ignorance about reputational harm while simultaneously issuing
 5   statements that every class member who will receive debt cancellation was “cheated by their
 6   schools.” Cory Turner, 200,000 student borrowers who say they were ripped off may get their
 7   loans erased, NPR (July 21, 2022), https://www.npr.org/2022/07/21/1112554478/student-loan-
 8   forgiveness-borrower-defense (quoting Eileen O’Connor). Tellingly, the Parties dedicate entire
 9   sections of their Oppositions to attacking the reputations of schools based on negative news
10   coverage of past settlements, Pls’ Opp. 6–9, Gov. Opp. 18 n.4, while arguing that this settlement
11   will somehow not cause reputational harm, Pls’ Opp. 15.
12           On this front, the Court should put a simple question to the Parties at the hearing: If
13   inclusion on the Exhibit C list is virtually meaningless, why did the Parties include Exhibit C at
14   all? The answer is obvious: inclusion on the Exhibit C list is a very big deal and the Departments
15   of Education and Justice did not believe they could stand before this Court in good faith and justify
16   the Proposed Settlement without it. If the lawyers for the United States feel that strongly about it,
17   imagine the effect on students, prospective students, and faculty at ECI schools. See Doc. 261-3
18   ¶ 12 (“third parties are treating it like a finding of wrongdoing by the schools”).
19                          c.      The Department’s Belated Promises Do Not Eliminate Risk of
                                    Impairment of ECI’s Interests.
20

21           In its Opposition, the Government now goes to great lengths to assure Exhibit C schools

22   that its “determin[ation]” of “substantial misconduct by the listed schools,” Doc. 246 at 17-18, is

23   a ticket good for this ride only, and that the determination cannot and will not be used for any other

24   purpose. See Gov. Opp. 16; Doc. 288-1. To be sure, the Government’s statements in its

25   Opposition and attached declaration will now estop it from using this “determination” for the

26   purposes detailed therein. But that does not eliminate the need for ECI to intervene to fully protect

27   its interests.

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 1           First, regardless of how the Department uses the determination in the future, the
 2   reputational effect is immediate and lasting.       After all, the Department maintains that this
 3   determination was the necessary predicate for automatic, blanket debt cancellation on the order of
 4   $6 billion.
 5           Second, the very fact that it took the filing of intervention motions to spur the Department
 6   to offer these critical clarifications and concessions underscores why ECI’s participation in the
 7   case is necessary to protect its interests. A deputy under secretary’s declaration is nice, but ECI
 8   seeks to ensure that any final settlement has clear provisions protecting the school’s rights and
 9   interests. After all, if the limits of the Department’s determination were so clear at the outset, why
10   did the Parties not include those disclaimers in the Proposed Settlement? They certainly included
11   disclaimers about, and protections for, their own rights and interests. See, e.g., Doc. 246-1 § VI
12   (attorneys’ fees for Plaintiffs’ counsel), § VII (waiver and release for Defendants), § VIII (no
13   admission of liability for Defendants), § XIII (right to void settlement). Somehow, the Parties
14   forgot about similar protections for the 153 schools on their enemies list. ECI seeks to ensure they
15   do not forget again should the settlement go final.
16           Second, ECI should be excused for viewing with a jaundiced eye the promises of a newly
17   minted deputy under secretary (we are not told of what), given that, from day to day, the
18   Government cannot even decide whether this case is (1) moot, or (2) a proper vehicle for what
19   would be one of the most sweeping settlements ever approved by a federal court. Nor can the
20   Government maintain a consistent position on whether (1) it is prohibited from granting blanket
21   debt cancellation (as the Department’s general counsel concluded just two years ago), or (2) it has
22   authority to cancel all student debt through the Secretary’s or Attorney General’s settlement
23   authority. 9
24

25           9
                The Government, Gov. Opp. 13-15, waves around the Secretary’s and Attorney General’s
26   settlement authority as if these executive officers constitute “a sort of junior-varsity Congress,”
     Mistretta v. United States, 488 U.S. 361, 427 (1989) (Scalia, J., dissenting), able to vaporize statutes
27   and regulations and usher in a new borrower-defense regime through a litigation settlement. Suffice
     it to say, this view of the unchecked and all-powerful Executive Branch is not correct. But there
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 1           Third, while the Department downplays the significance of its determination and
 2   characterizes the Proposed Settlement as providing sui generis relief, Plaintiffs offer different
 3   characterizations. A comparison:
 4
             Government’s Characterization                      Plaintiffs’ Characterization
 5
      “[T]he procedures specified in the settlement    “The Department … has simply agreed to a
 6
      are distinct from what class members would       process and timeline to resolve the Class’s
 7    ‘receive if their claims were adjudicated        claims within the existing BD framework.”
      outside of [the] settlement…. The settlement
 8    agreement does not provide for Defendants to     Pls’ Opp. 24.
      exercise     their   authority   under    the
 9    Department’s borrower defense regulations”
10
      Gov. Opp. 14-15.
11
      “[N]or does it mandate or even suggest that the The Proposed Settlement constitutes “approval
12    relief class members will receive is in the form of many Class Members’ applications.”
      of borrower defense decisions issued through
13    the regulatory process that would be applicable Pls’ Opp. 9.
14    outside of this settlement.”

15    Gov. Opp. 15.

16    “The fact that a school is included on the “[P]resence on Exhibit C is … proof of the
      attachment to the settlement agreement is not a Department weighing available evidence and
17
      formal finding of misconduct.”                  finding that ECI’s conduct supports BD
18                                                    relief.”
      Gov. Opp. 16.
19                                                    Pls’ Opp. 9 n.12.
20   If the Parties cannot even agree as to the meaning and implications of the determination
21   undergirding the settlement, what are the Exhibit C schools supposed to do? Sit idly by while their
22   futures are negotiated away by legislation disguised as a settlement?
23                          d.     The Parties are Wrong to Suggest that ECI Lacks (or Needs)
                                   Article III Standing to Intervene to Defend Against the
24
                                   Requested Relief.
25

26

27   will be time enough to argue legality once ECI intervenes. The point is not relevant to whether ECI
     has an interest implicated by the exercise of this claimed power.
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 1           The Parties grumble about Article III standing. See Pls’ Opp. 20; Gov. Opp. 10, 15. The
 2   Supreme Court has held that a plaintiff-intervenor must establish Article III standing if seeking
 3   “additional relief beyond that which the plaintiff[s] request[].” Town of Chester, N.Y. v. Laroe
 4   Ests., Inc., 137 S. Ct. 1645, 1651 (2017). But ECI would be a defendant-intervenor—i.e., it would
 5   enter the case to defend against the form of relief Plaintiffs’ claims have now seemingly produced
 6   (even though Plaintiffs themselves do not have standing for all of the relief now requested). See
 7   Vivid Entertainment, LLC v. Fielding, 2013 WL 3989558 (C.D. Cal. Aug. 2, 2013)
 8   (“intervenors are not required to demonstrate Article III standing independent of the defendants”);
 9   San Juan Cnty., Utah v. United States, 503 F.3d 1163, 1172 (10th Cir. 2007) (en banc) (party
10   seeking to intervene as defendant “need not establish Article III standing”).
11           Regardless, “monetary” and “reputational harms” like those inflicted on ECI by the
12   Proposed Settlement “readily qualify as concrete injuries under Article III.” TransUnion LLC v.
13   Ramirez, 141 S. Ct. 2190, 2204 (2021). The same “interest[s]” that are “sufficient to allow”
14   intervention here thus also “satisfy any requirements of Article III standing.” United States v.
15   Carpenter, 526 F.3d 1237, 1240 (9th Cir. 2008). See also No Casino In Plymouth v. Nat’l Indian
16   Gaming Commission, 2022 WL 1489498, at *10 n. 12 (E.D. Cal. May 11, 2022) (“in the Ninth
17   Circuit the requirement of Article III standing is incorporated into the four-part intervention test
18   as part of the requirement that the applicant for intervention must ‘assert an interest relating to the
19   property or transaction which is the subject of the action’”). To repeat the well-settled test
20   established by the en banc Ninth Circuit, “a prospective intervenor ‘has a sufficient interest for
21   intervention purposes if it will suffer a practical impairment of its interests as a result of the
22   pending litigation.’” Wilderness Soc. v. U.S. Forest Serv., 630 F.3d 1173, 1179 (9th Cir. 2011)
23   (en banc). ECI readily meets that test here. 10
24
             10
25              Moreover, contrary to Plaintiffs’ passing suggestion to the contrary, Pls’ Opp. 12, “[n]on-
     property interests are sufficient to support intervention.” Texas v. United States, 805 F.3d 653, 658
26   (5th Cir. 2015). Indeed, the Ninth Circuit has allowed intervention to protect interests as ephemeral
     as “the preservation of birds,” Sagebrush, 713 F.2d at 528 (9th Cir. 1983), “preserving wilderness
27   character,” Citizens, 647 F.3d at 898, and protecting causes or measures championed and supported
     by the proposed intervenors, see Washington State Building & Construction Trades v. Spellman, 684
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 1             B.     ECI Satisfies the Requirements for Permissive Intervention.
 2             None of the Parties’ arguments against permissive intervention have merit.
 3             First, the Parties repeat their claim that intervention would cause delay, but as explained
 4   above, the Ninth Circuit rejects that argument, and it is especially hollow here where delay would
 5   occur only if ECI’s objections to the settlement have merit and undermine any legitimate interest
 6   in proceeding to final approval.
 7             Second, Plaintiffs argue that ECI’s “claim or defense” does not share a “common question
 8   of law and fact” with “the main action” because the “legal issues in this case” do not “resemble”
 9   ECI’s objections to the Proposed Settlement. Pls’ Opp. 17. But that argument only highlights
10   why ECI must be granted intervention: the Parties have abandoned the legal issues in the case and
11   proposed a settlement that impairs the substantial interests of nonparties. In any event, “[t]he
12   words ‘claim or defense’” in Rule 24(b) “are not ‘read in a technical sense, but only require some
13   interest on the part of the applicant.’” United States v. N.Y. City Housing Authority, 326 F.R.D.
14   411, 418 (S.D.N.Y. 2018) (granting permissive intervention “for the limited purpose of opposing”
15   consent decree). ECI has a sufficient interest here and will “help the Court make an informed
16   decision.” Arena v. Intuit, 2020 WL 7342716, at *1 (N.D. Cal. Dec. 14, 2020) (granting permissive
17   intervention to challenge settlement).
18             Third, in a last-ditch effort, Plaintiffs ask this Court to relegate ECI “to fil[ing] amicus
19   briefs.” Pls’ Opp. 21. But “amicus status is insufficient to protect [an intervenor’s] rights because
20   such status does not allow [the intervenor] to raise issues or arguments formally and gives it no
21   right of appeal.” City of Los Angeles, 288 F.3d at 400.
22   III.      CONCLUSION
23             For the foregoing reasons, ECI respectfully asks this Court to grant its motion to intervene.
24

25

26
     F.2d 627, 629–30 (9th Cir.1982); Idaho v. Freeman, 625 F.2d 886 (9th Cir.1980). ECI’s interests
27   are far more tangible than the interests in these cases—and, indeed, the potential financial harms
     qualify as property in all events.
28
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 1   Dated: July 29, 2022                   Respectfully submitted,
 2

 3                                          /s/ Jesse Panuccio
                                            Jesse Panuccio (pro hace vice)
 4                                          jpanuccio@bsfllp.com
                                            Jason Hilborn (pro hac vice)
 5                                          jhilborn@bsfllp.com
 6                                          BOIES SCHILLER FLEXNER LLP
                                            401 E. Las Olas Blvd., Ste. 1200
 7                                          Fort Lauderdale, FL 33301
                                            T: (954) 356-0011
 8
                                            John J. Kucera
 9                                          jkucera@bsfllp.com
10                                          BOIES SCHILLER FLEXNER LLP
                                            725 S. Figueroa St., 31st Fl.
11                                          Los Angeles, CA 90017
                                            T: (213) 692-9040
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 1                                    CERTIFICATE OF SERVICE
 2          I hereby certify that on July 29, 2022, I caused to be electronically filed the foregoing
 3   PROPOSED INTERVENOR EVERGLADES COLLEGE, INC.’S REPLY IN SUPPORT OF
 4   MOTION TO INTERVENE with the Clerk of the Court via CM/ECF. Notice of this filing will
 5   be sent by email to all parties by operation of the Court’s electronic filing systems.
 6

 7 Dated: July 29, 2022

 8
                                              By: /s/ Jesse Panuccio
 9                                               Jesse Panuccio (pro hac vice)
10                                               Attorney for Proposed Intervenor
                                                 Everglades College, Inc.
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                                        INTERVENE
